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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

              v.                                                      No. 02 CR 1050-2
                                                                    Judge James B. Zagel
NICHOLAS CALABRESE, et al.


                           MEMORANDUM OPINION AND ORDER

I.      BACKGROUND
        Defendant James Marcello (“Defendant” or “Mr. Marcello”) moves to suppress certain

intercepted conversations and all evidence derived therefrom. He argues that the Government

failed to comply with the sealing requirements contained in Title III of the Omnibus Crime

Control and Safe Streets Act of 1968 (“Title III”), as amended, 18 U.S.C. § 2510 et seq, and that

the recordings should therefore be suppressed.1 The potential evidence in question was all

intercepted while Mr. Marcello was incarcerated at FCI Milan, Michigan. The Government

recorded conversations Mr. Marcello had with his brother and others in the prison visiting room.

        In its response to Defendant’s Motion to Suppress, the Government argues that it

complied with Title III’s sealing requirements. Nowhere in that response does the Government

suggest that Title III might not apply. However, in a brief the Government later filed, in response
to a motion made by a different defendant (Michael Marcello), the Government argued that Title

III does not apply at all in the prison context. The Government argued, therefore, that Michael

Marcello’s motion to suppress should be denied irrespective of whether the sealing requirements

in § 2518 were followed. In that later-filed response, the Government sought leave to

retroactively apply the argument regarding Title III’s applicability to James Marcello’s motion.


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          Mr. Marcello also argues that the Government failed to obtain proper Attorney General
authorization as required by 18 U.S.C. § 2516(1). However, since I conclude that Title III does not
apply, I need not, and indeed do not reach the question of whether Attorney General authorization was
properly obtained.
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         I had originally scheduled a hearing solely to assess whether the Government complied

with the sealing requirements. In light of the Government’s new argument, I provided Defendant

with an opportunity to file supplemental briefing. The hearing, which occurred on June 15, 2007,

then addressed both (1) whether Title III applies in this context; and (2) assuming Title III does

apply, whether the Government complied with the sealing requirements in § 2518(8).

II.      STATUTORY FRAMEWORK

         The sealing requirement is contained in 18 U.S.C. § 2518(8)(a). It states, in pertinent

part:

         The contents of any wire, oral, or electronic communication intercepted by any
         means authorized by this chapter shall, if possible, be recorded on tape or wire or
         other comparable device. The recording of the contents of any wire, oral, or
         electronic communication under this subsection shall be done in such a way as
         will protect the recording from editing or other alterations. Immediately upon the
         expiration of the period of the order, or extensions thereof, such recordings shall
         be made available to the judge issuing such order and sealed under his directions.

18 U.S.C. § 2518(8)(a).

         The Government argues, however, that “[w]ithout a legitimate and reasonable expectation

of privacy, the Fourth Amendment is not invoked, and the protections of Title III do not apply.”

Indeed, the statute defines “oral communication” as “any oral communication uttered by a person

exhibiting an expectation that such communication is not subject to interception under

circumstances justifying such expectation, but such term does not include any electronic

communication.” 18 U.S.C. § 2510(2) (emphasis added).2

III.     APPLICABILITY OF TITLE III

         I find that Title III does not apply to the Government’s interception of Mr. Marcello’s

conversations while he was incarcerated. The plain language of Title III reveals that, in the

context of oral communications, the statute only applies when the participants in the conversation


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          While the sealing requirements apply to “[t]he contents of any wire, oral, or electronic
communication,” 18 U.S.C. § 2518(8)(a), only the definition of “oral communication” contains limiting
language regarding a reasonable expectation of privacy. Defendant, however, exclusively argues that the
communications at issue here are oral communications. That is, Mr. Marcello does not seek to categorize
these intercepts as wire or electronic communications.
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had a reasonable expectation of privacy. See 18 U.S.C. §§ 2510(2); 2518(8)(a). Mr. Marcello

had no reasonable expectation of privacy while incarcerated at FCI Milan, thus, the statute does

not apply.

        I find that, because Mr. Marcello was incarcerated, he had no reasonable expectation of

privacy. In Hudson v. Palmer, 468 U.S. 517, 525-26, the Supreme Court held that a prisoner

does not have a reasonable expectation of privacy in his prison cell. If a prisoner does not have a

reasonable expectation of privacy in his cell, then a fortiori, he does not have one in the common

areas of the prison (e.g., the visiting rooms). The Fifth Circuit has also concluded that inmates

do not have a reasonable expectation of privacy. United States v. Harrelson, 754 F.2d 1153,

1169 (5th Cir. 1985) (noting that “one who expects privacy under the circumstances of prison

visiting is, if not actually foolish, exceptionally naïve”). In light of the fact that all of the

conversations at issue here occurred while Mr. Marcello was incarcerated, I conclude that he did

not have a reasonable expectation of privacy.

        The Harrelson opinion also supports the broader conclusion that Title III does not apply

here. Harrelson is the one case I found where a court actually issued a holding on facts that are

on all fours with the situation here. In Harrelson, the incarcerated defendant’s conversations

with a visitor were surreptitiously recorded by an inmate in an adjacent cell. 754 F.2d 1169. The

court held that Title III did not apply. Id. It reasoned that the conversations were not “oral

communications” because the participants did not have a reasonable expectation of privacy as

they spoke to each other in jail. Id. Like the Harrelson defendant, Mr. Marcello had no

reasonable expectation of privacy while he was incarcerated. Therefore, Title III does not apply

to the conversations at issue here.

        While the Seventh Circuit did address sealing requirements in a factually analogous

scenario, that case never considered whether Title III applied. In United States v. Jackson, 207

F.3d 910, 913-14 (7th Cir. 2000), the Government obtained evidence by concealing microphones

in the visitors’ badges of individuals who visited one of the defendants while he was


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incarcerated. The Jackson court engaged in a straightforward, on-the-merits analysis of whether

the Government complied with the sealing requirements. Because the opinion gives no

indication that the court gave any consideration to whether Title III applies, I find the case to be

of only limited value in assessing the question at hand.3

         I note that from a public policy perspective, there is some appeal to the notion of

requiring the Government to protect the integrity of intercepted recordings, irrespective of

whether the Government was required to obtain a court order to intercept the recordings in the

first place. That is, it is not immediately clear why prophylactic measures designed to prevent

the Government from having the opportunity to alter or otherwise tamper with recorded

conversations should be tied to the question of whether the targets of the investigation had a

reasonable expectation of privacy. However, my duty is to give effect to the statute as written,

and there is no mechanism to apply the statute in a piecemeal fashion. Therefore, unless and

until Congress amends the law to impose the sealing requirements upon all intercepted

communications, there is no basis to apply Title III to these communications.

         In sum, because Defendant did not have a reasonable expectation of privacy in FCI

Milan, the conversations the Government recorded were not “oral communications” as that term

is defined in the statute. Therefore, Title III and its concomitant sealing requirements do not

apply here. Defendant’s motion to suppress is denied.

IV.      ALTERNATIVE HOLDING

         Had I concluded that Title III does apply here, the only communications I would have

suppressed would have been the July 17 and August 8, 2003 recordings.


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          Mr. Marcello cites three cases that he suggest stand for the proposition that Title III is regularly
applied in prison settings. See United States v. Amend, 831 F.2d 373, 378 (2d Cir. 1987) (“Title III
clearly applies to prison monitoring”); United States v. Faulkner, 323 F. Supp. 2d 1111, 1113 (D. Kan.
2004) (“Although the argument has been made that Title III was not intended by Congress to apply in
prisons, it is well accepted that its protections do apply to that context.”); United States v. Lopez, No. 86
CR 513, 1987 WL 8627, at *10 (N.D. Ill. March 20, 1987) (“[E]very court to consider the issue has
rejected the contention that Congress did not intend Title III to apply to the monitoring of prison
telephones.”). In each of these cases, however, the language upon which Defendant relies is mere dicta.
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        The sealing requirements are designed to protect the integrity of recorded conversations.

18 U.S.C. § 2518(8)(a) (“The recording of the contents of any wire, oral, or electronic

communication under this subsection shall be done in such a way as will protect the recording

from editing or other alterations.”). In order to ensure that recordings are protected, the statute

directs that “[i]mmediately upon the expiration of the period of the order, or extensions thereof,

such recordings shall be made available to the judge issuing such order and sealed under his

directions.” Id.

        The original order authorizing the interceptions at issue here was signed on December 4,

2002. Thereafter, five subsequent orders were entered, the last of which expired on August 15,

2003. After the expiration of each of the intercepting orders, a sealing order was signed. Below,

I have listed the dates for all of the relevant orders:

No.     Intercepting Order Signed          Intercepting Order Expired      Sealing Order Signed
1       December 4, 2002                   January 13, 2003                January 16, 2003

2       January 22, 2003                   February 21, 2003               March 3, 2003

3       February 27, 2003                  March 29, 2003                  April 1, 2003

4       April 16, 2003                     May 16, 2003                    June 2, 2003

5       June 4, 2003                       July 4, 2003                    July 11, 2003

6       July 16, 2003                      August 15, 2003                 August 25, 2003 4

        A.         Extensions versus New Orders

        I conclude that the five orders entered after the original order were extensions of the first

order, not new and separate orders. As a result, I need not consider the timeliness of each

individual sealing order. Rather, the only question is whether the conversations recorded

pursuant to the last intercepting order were timely. This is because when extensions are present,

the requirement to seal does not arise until the expiration of the final extension. See 18 U.S.C. §

2518(8)(a); United States v. Coney, 407 F.3d 871, 873 (7th Cir. 2005) (“[T]he tapes should be

sealed either as soon as practical after the surveillance ends or as soon as practical after the final

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            Note: the July 17, 2003 tapes were not sealed until May 13, 2004.
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extension order expires.” (quoting United States v. Williams, 124 F.3d 411, 429 (3d Cir. 1997));

United States v. Jackson, 207 F.3d at 916 (acknowledging that the statute gives permission “to

leave the original tapes unsealed during any extension of the original surveillance warrant”).

       Mr. Marcello argues that the five intercepting orders entered after the original one were

not extensions, but rather new and separate intercepting orders. He points both to the gaps

between the expiration of one intercepting order and the commencement of the next one, and the

fact that the Government sought sealing orders after each intercepting order expired. The

Government, on the other hand, correctly points out that the subsequent orders at issue here all

involved the same subjects, the same location, and the same crimes as the original order.

       The Third Circuit has set forth a two-element test for assessing whether subsequent

intercepting orders are extensions or new orders. United States v. Carson, 969 F.2d 1480, 1487-

88 (3d Cir. 1992). In elucidating the first element, the court held that “a second order need not

be entered before the expiration of the first in order to qualify as an extension so long as the

subject, location and criminal subject matter of both surveillances is the same.” Id. The Carson

court framed the second element this way: “[A]n order authorizing surveillance of the same

subject, at the same location, regarding the same matter as an earlier authorized surveillance,

constitutes an ‘extension’ of the earlier authorization for purposes of Section 2518(8)(a) if, but

only if, the new authorization was obtained as soon as administratively practical or any delay is

satisfactorily explained, i.e., is shown to have occurred without fault or bad faith on the part of

the government.” Id. at 1488 (emphasis added).

       Based on the affidavit filed by Assistant United States Attorney (AUSA) John Scully

(“Scully Affidavit”), and the arguments the Government presented at the June 15 hearing, I

conclude that the subsequent intercepting orders were extensions of the original order. There is

no question but that all of the intercepting orders pertained to the same case. While some of the

subjects and some of the predicate RICO acts changed in subsequent orders, this is a natural

outgrowth of a developing investigation. In addition, the gaps between the expiration of one


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order and commencement of the subsequent extension have been adequately explained. The

normal bureaucratic process between Main Justice in Washington, D.C. and the United States

Attorneys Office in the field accounts for some delays. That process was further complicated

here because two United States Attorneys’ offices (one in Chicago and one in Detroit) were

involved.5 Since both of the Carson elements are satisfied here, I conclude that the subsequent

orders were extensions of the original order. The result, therefore, is that all of the recordings

made pursuant to the first five orders were timely filed because sealing orders for them were all

signed before the final extension expired.

       B.      Timeliness of Sealing

       Even though I determined that the subsequent intercepting orders were extensions of the

original order, I nevertheless have to inquire as to the propriety of the recordings made pursuant

to the July 16 intercepting order.

       Had I found that Title III applied here, I would have suppressed the two days of

conversations intercepted pursuant to this final order. Though the final intercepting order

expired on August 15, 2003, the August 8, 2003 tapes were not sealed until August 25, 2003 (a

ten-day delay). Further, the July 17, 2003 tapes were not sealed until May 13, 2004 (a delay of

almost ten months). The Government seeks to minimize the ten-day delay by highlighting the

fact that a number of the intervening days were weekend days. However, the Seventh Circuit has

called the business day/weekend day dichotomy “irrelevant” because “the prosecutors have

access to their offices even when the building in which their offices are located is closed” and

“[b]ecause such tapes are accessible on weekend and holidays by the very agents who might have

the inclination and incentive to tamper with them.” Coney, 407 F.3d at 873.

       As noted above, the statute requires interceptions to be sealed “immediately upon the

expiration of the period of the order, or extensions thereof . . . .” 18 U.S.C. § 2518(8)(a). The


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         AUSAs in Chicago were heading up the investigation. However, since Mr. Marcello was
incarcerated in Michigan, the Chicago AUSAs worked in conjunction with AUSAs in Detroit to secure
many of the orders.
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Seventh Circuit expressly noted in Coney that “[t]en days is too long to be thought immediate.”

407 F.3d at 873. Therefore, neither the July 17 nor the August 8 tapes were sealed

“immediately.”

        This does not end the inquiry, however. The tapes may nevertheless be admitted if the

Government can provide a “satisfactory explanation.” 18 U.S.C. 2518(8)(a). A satisfactory

explanation is one that is “objectively reasonable.” Jackson, 207 F.3d at 916 (citing United States

v. Ojeda Rios, 495 U.S. 257, at 266-67 (1990)).

        The Government attempts to explain that despite the delays, the tapes were not tampered

with. These efforts miss the point; proof of nontampering alone is not a substitute for a

satisfactory explanation. Ojeda Rios, 495 U.S. at 264-65. In order to prevail, the Government

must “explain not only why a delay occurred but also why it is excusable.” Id. at 265. The

Government fails—both in its brief and in the Scully Affidavit—to explain the delay in sealing

the July 17 and August 8 tapes. Since the sealing was not immediate, and since the Government

failed to sufficiently explain the delay, I would have excluded these conversations had I

determined that Title III applied here.

V.      CONCLUSION

        I conclude that Title III does not apply here, therefore Defendant’s Motion to Suppress is

denied. Had I determined that Title III did apply, I would have suppressed the conversations

recorded pursuant to the final authorizing order, but denied Defendant’s motion regarding all of

the other recordings.



                                                      ENTER:




                                                      James B. Zagel
                                                      United States District Judge

DATE: Jun 19, 2007


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